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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

SUSAN BALLOU                                  JURY TRIAL DEMANDED

v.                                                   CASE NO. 3:09CV

LAW OFFICES HOWARD LEE SCHIFF, P.C.

                                      COMPLAINT

       1. This     is an action for damages, costs and attorney's fees seeking relief

pursuant to the Fair Debt Collection Practices Act ("FDCPA"), 15 U.S.C. § 1692.

       2. This Court has jurisdiction. 15 U.S.C. §1692k; 28 U.S.C. §1331.

       3. Plaintiff is an individual who resides in Connecticut.

       4. Plaintiff is a consumer within the meaning of the FDCPA.

       5. Defendant is a law firm in the practice of consumer debt collection.

       6. Defendant engaged in efforts to collect from plaintiff personal credit accounts

in the name of Midland Funding.

       7. Within the year prior to this lawsuit, defendant sent letters to plaintiff which

overstated the amount due and owing upon a Midland judgment that had entered against

her.

       8. In April, 2009, defendant transmitted a bank execution to Marshal Lepito

which directed him to add interest to the judgment amount despite absence of any

authorization to do so on the execution issued by the Clerk.

       9. Defendant has a regular pattern and practice of executing on bank accounts

even where the judgment debtor is making payments ordered by the court or agreed upon,

and did so in this case

       10. In the course of the collection, defendant violated §1692d. -e, or -f(1).
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       11. Defendant violated the FDCPA as evidenced by the following conduct:

                (a)   Using false, deceptive and misleading representations or means in

connection with the collection of an alleged debt;

                (b)   Falsely representing the character, amount or legal status of an

alleged debt;

                (c)   Using unfair means to collect or attempt to collect an alleged debt.



                                 PRAYER FOR RELIEF

        WHEREFORE, Plaintiff respectfully prays that relief be granted as follows:

                (a)   That judgment be entered against Defendant for statutory damages,

pursuant to 15 U.S.C. § 1692k;

                (b)   That the Court award costs and reasonable attorneys’ fees,

pursuant to 15 U.S.C. § 1692k(a)(3); and,

                (f)   That the Court grant such other and further relief as may be just

and proper.




                                             PLAINTIFF,

                                             BY      /s/ Joanne S. Faulkner_
                                                     Joanne S. Faulkner ct04137
                                                     123 Avon Street
                                                     New Haven, CT 06511-2422
                                                     (203) 772-0395
                                                     faulknerlawoffice@snet.net




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